
Catron, Ch. J.
delivered the opinion of the court.
The only question in this case is, to what extent the clerk was authorized to take the bond.
The chancery rule adopted in 1825, prescribes his duty. In cases where money is not decreed to be paid by the appellant, he is bound to give bond and security, as in cases at law on appeals in error. 1811, ch. 72, sec. 11. In such cases, the surety is only liable for the costs occasioned by the appeal, but no previous costs. So this court, it is believed, has universally hol-den. The costs and damages sustained for wrongfully prosecuting the appeal, can only be lawfully covered by the form of the bond. We order the demurrer to be sustained.
Judgment affirmed.
